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UNITED STATES BANKRUPTCY COURT
DISTRICT OF MONTANA
PDF FILE WITH AUDIO FILE ATTACHMENT

      2014-61357
      JOHN HENRY SCHNEIDER



      Case Type :                    bk
      Case Number :                  2014-61357
      Case Title :                   JOHN HENRY SCHNEIDER

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